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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 MUTUAL OF OMAHA
 MORTGAGE, INC.

                    Plaintiff,
 v.                                            CASE NO. 8:22-cv-01660-TPB-JSS
 WATERSTONE MORTGAGE
 CORPORATION,

                    Defendant.


     DEFENDANT WATERSTONE MORTGAGE CORPORATION’S
    OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL SECOND
 DEPOSITIONS AND FOR SANCTIONS, AND WATERSTONE’S MOTION
                   FOR PROTECTIVE ORDER

      I.     Introduction.

           There is no basis to compel further deposition of Dwayne Hutto and

Christopher Smith as to their views of the Waterstone employment agreement.

Attorney Ari Karen was Waterstone’s long-term counsel regarding employment

matters and drafted a number of employment agreements for Waterstone, including

provisions of the instant agreements signed by Hutto and Smith. Moreover, Mutual

indicated it had completed all questioning of Hutto as to the Waterstone employment

agreement by the time Waterstone objected, with Mutual itself stating the issue is moot

as to Hutto. As to Smith, no further testimony is appropriate, as it is irrelevant and

would inject an unnecessary, and easily avoidable conflict of interest issue into the

case.
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   II.      Relevant Facts.

         1. Attorney Karen’s Prior Representation of Waterstone.

         Ari Karen, who is now counsel for Mutual, was Waterstone’s long-time counsel

with respect to an array of employment matters, including that Attorney Karen drafted

the following Waterstone employment agreements: (1) the Producing Branch Manager

Employment & Services Agreement, attached as Exhibit 1; (2) the Non-Producing

Branch Manager Employment & Services Agreement, attached as Exhibit 2; and (3)

the Loan Originator Employment Agreement cited by Mutual as having been drafted

by Attorney Karen, attached as Exhibit A to Mutual’s Brief (Dkt. No. 78-1 and here

as Exhibit 3 for ease of reference. The agreements Attorney Karen drafted each contain

the following restrictive covenants and related provisions:

            • A confidentiality provision requiring that the employee use Waterstone’s

               confidential information solely for Waterstone’s benefit, both during

               employment and post-employment. Exhibit 1 ¶ 7(a); Exhibit 2 ¶ 7(a);

               Exhibit 3 ¶ 6(a).

            • A restrictive covenant that prohibits the solicitation of customers and

               prospective customers during employment. Exhibit 1 ¶ 7(b); Exhibit 2 ¶

               7(b); Exhibit 3 ¶ 6(b).

            • A 12-month post-employment restrictive covenant that prohibits the

               solicitation of actual or prospective customers. Exhibit 1 ¶ 7(c); Exhibit

               2 ¶ 7(c); Exhibit 3 ¶ 6(c).

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           • A 12-month post-employment employee non-solicit. Exhibit 1 ¶ 7(d);

              Exhibit 2 ¶ 7(d); Exhibit 3 ¶ 6(d).

           • A provision that requires the Waterstone employee to show the

              employment agreement to any subsequent employer within the 12-

              month period of the restrictive covenants. Exhibit 1 ¶ 7(f); Exhibit 2 ¶

              7(f); Exhibit 3 ¶ 6(f).

           • An acknowledgement that the restrictive covenants will not interfere

              with the employee’s ability to obtain alternate employment. Exhibit 1 ¶

              7(g); Exhibit 2 ¶ 7(g); Exhibit 3 ¶ 6(g).

       While Waterstone later revised its employment agreements, the substance of the

above provisions remain in the current agreements, including that the Producing

Branch Manager Agreements signed by the two managers deposed by Mutual,

Dwayne Hutto (“Hutto”) and Chris Smith (“Smith”), include a one-year employee

non-solicit and a one-year customer non-solicit. (See Hutto’s Employment Agreement,

Dkt. 78-2, and Smith’s Employment Agreement, Dkt. 78-3, at ¶ 5.2(b) and ¶ 5.2(c);

see also ¶ 5.1(b)(i)-(iii)(confidentiality), 5.2(a) customer non-solicit, 3.5 (disclosure to

new employer), and 5.2(f)( ability to obtain future employment).) In addition, some

key provisions in the agreements drafted by Attorney Karen are identical to the

provisions in the agreements signed by Hutto and Smith. For example, the non-

employee solicit at issue is identical and reads as follows:



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 Attorney Karen Drafted Agreements               Hutto/Smith Agreements (Dkt. 78-2
 (Exhibit 1 ¶ 7(b); Exhibit 2 ¶ 7(b);            and 78-3) at ¶ 5.2(a):
 Exhibit 3 ¶ 6(b)):
 “Employee agrees that during his/her            “Employee agrees that during his/her
 employment with Waterstone s/he will            employment with Company s/he will
 not directly or indirectly, on behalf of        not directly or indirectly, on behalf of
 himself/herself or any other individual,        himself/herself or any other individual,
 organization, or entity solicit any             organization, or entity solicit any
 customer or client or prospective               customer or client or prospective
 customer or client of Waterstone to             customer or client of Waterstone to
 engage in or transact business with any         engage in or transact business with any
 entity or person other than Waterstone.”        entity or person other than Company.”

      In addition, the indemnification provision of the Waterstone employment

agreements drafted by Attorney Karen that was the subject of deposition questioning

is nearly identical to the indemnification provision of Hutto’s and Smith’s agreements:

 Attorney Karen Drafted Agreements               Hutto/Smith Agreements (Dkt. 78-2
 (Exhibit 1 ¶ 1; Exhibit 2 ¶ 1; see also         and 78-3) at ¶ 6.6:
 Exhibit 3 ¶ 8:
 “To the extent permitted by RESPA               “To the extent permitted under
 and/or HUD, Employee hereby agrees              applicable law, Employee hereby agrees
 to indemnify and defend Waterstone and          to indemnify and defend Company and
 its principals for any and all attorneys’       its principals for any and all attorneys’
 fees, costs of prudent settlement,              fees, costs of prudent settlement,
 judgments, fines, or damages incurred by        judgments, fines, or damages incurred by
 Employer as a result of Manager’s breach        Company as a result of Employee’s
 of the terms of this Agreement.”                breach of the terms of this Agreement.”

      2. The Hutto Deposition.

      At the June 15, 2023 deposition of Hutto, Attorney Karen began to examine

Hutto about the reasonableness of various provisions of the Waterstone employment

agreement, as well as the indemnification provision of the employment agreement

quoted above that is identical to the indemnification provision he drafted for


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Waterstone. (See Hutto Dep. Tr. (attached as Exhibit 4) at 25:6-30:4.) At that point,

general counsel for Waterstone, Stephanie Ziebell, who was attending the deposition

by video and aware of Attorney Karen’s prior work for Waterstone, requested a break

in the deposition. (Id. at 30:5-10.) Thereafter, Attorney Maria Kreiter, outside

litigation counsel, put on the record that Attorney Ziebell had advised of Attorney

Karen’s prior representation, including as lead counsel for Waterstone in a long-

standing employment case and as the draftsman of the Waterstone employment

agreements. (Id. at 30:13-31:8.) Attorney Ziebell recalled that Attorney Karen had

drafted the instant employment agreement, rather than portions of it, but the fact

remains that, as stated by Waterstone at the deposition “The work product of opposing

counsel for its former client Waterstone is now being used at a deposition in which

Waterstone is the adversary.” (Id. at 31:2-5.) As such, Waterstone asked that Attorney

Karen refrain from questions that leverage his work product, the Waterstone

employment agreement, against Waterstone. (Id. at 31:5-8.) Waterstone further

explained its position was that the questioning created a conflict of interest that it did

not want to waive by way of allowing questioning at the deposition. (Id. 34:17-19.)

Attorney Karen did not contact the Court and instead responded the issue was moot

because he was done with questions based on the Waterstone employment agreement

and had already asked all of his questions of Hutto about the agreement by the time

Waterstone objected. (Id. 34:20-25.) Further, Attorney Karen put on the record that

he had already asked questions about the agreement for thirty minutes, such that

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Waterstone had already waived the objection. (Id.) Waterstone disputed that the

conflict was waived, as Attorney Ziebell flagged the issue as soon as possible. (Id. 35:9-

13.)

       3. Attorney Karen First Became Active in the Case at the Hutto Deposition.

       Prior to the questions at the Hutto deposition, Waterstone did not perceive a

conflict of interest because Attorney Karen had not attempted to question any

Waterstone witness based on his work product for Waterstone. Nor had the

Waterstone agreement come up in any interrogatories or other depositions. In

addition, Attorney Karen did not appear in this case until it had been pending for eight

months, on March 22, 2023 (Dkt. 58), with Attorney McCall (and Courtney Walter)

attending all prior conference calls with Waterstone counsel, Attorney McCall arguing

both disputed motions (see, e.g., Dkt. 25, 40, 42, 61), Attorneys McCall and Walter

taking and attending all prior depositions, and Attorneys McCall and Walter, not

Attorney Karen, being the ones to communicate with Waterstone. Nor did Mutual

indicate in advance that Attorney Karen would be taking the Hutto and Smith

depositions, as he was not on any correspondence related to the setting or rescheduling

the depositions. See e.g. Exhibit 5.

       4. The Smith Deposition.

       The Smith deposition occurred the day after the Hutto deposition. Given

Mutual’s position that allowing testimony about the Waterstone employment

agreement would constitute a waiver of the conflict of interest, Waterstone instructed

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Smith not to answer questions about his Waterstone employment agreement. (Smith

Dep. Tr. (attached as Exhibit 6) at 175:20-176:14.) Mutual did not contact the Court

regarding the Waterstone employment agreement and its desire for testimony by Smith

about the agreement, but rather had contacted the Court the day before, during the

Hutto deposition, regarding a separate issue. (Id. at 181:3-13.)

   III.   Argument.

      1. The Motion is Moot as To Hutto Because Mutual Finished its Questions.

      The Court should deny the motion to continue the Hutto deposition because

Mutual asked all questions of Hutto about the Waterstone agreement that it wanted to

ask, with Mutual itself characterizing the issue as moot:

             Mr. Karen: I understand your objection. As I said, I think
             it’s a moot point anyhow because I’m done with that
             exhibit. So we can move on, I’m not going to fight about
             something today that – there’s nothing to fight about
             because I already asked my questions, but not withstanding
             we can move forward.

(Hutto Dep. Tr. (Exhibit 4) at 34:20-25.) Whatever objection Waterstone lodged did

not impede the deposition questioning, which was complete. As such, there is no

grounds to continue the Hutto deposition.

      2. Testimony Adverse to Waterstone Based on the Employment Agreement
         Creates a Conflict of Interest to Which Waterstone Objects.

      Nor should the Court order further deposition of Smith based on his Waterstone

employment agreement. Attorney Karen was the draftsman of various Waterstone

employment agreements that, while revised, contain provisions that remain the work

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product of Attorney Karen, including a provision that was the subject of Attorney

Karen’s deposition questioning of Hutto.

       Under Florida Rule 4-1.9 governing conflicts of interest arising from a former

client engagement, “[a] lawyer who has formerly represented a client in a matter must

not afterwards: (a) represent another person in the same or a substantially related

matter in which that person’s interests are materially adverse to the interests of the

former client unless the former client gives informed consent.” In addition, “[m]atters

are ‘substantially related’ for purposes of [Rule 4-1.9] if they involve the same

transaction or legal dispute, or if the current matter would involve the lawyer attacking

work that the lawyer performed for the former client.” Saulsberry v. Elder, 2022 WL

17414989 at *3 (S.D. Fla. Dec. 5, 2022) (quoting Comment to R. Regulating the Fla.

Bar 4-1.9). Matters are also substantially related “if the first matter could be reasonably

understood as important to the issues involved in the present matter.” Mitchell v. Hunt,

2017 WL 1157897 at *4 (M.D. Fla. Jan. 9, 2017).

       Here, Mutual made the prior representation of Attorney Karen important when

it deposed Hutto, and seeks to depose Smith, about the reasonableness of the contract

he drafted, in part, for Waterstone and whether Waterstone had leveraged the

indemnification right he created for Waterstone’s benefit. Waterstone maintains its

objection to the conflict of interest and, as stated during the deposition, does not waive

that conflict.



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      Mutual contends Waterstone waived the conflict of interest because the

Mitchell Sandler firm with which Attorney Karen is now affiliated has been

representing Mutual since the inception of the case and Waterstone has not moved to

disqualify Attorney Karen. Waterstone did not waive the conflict. It vigorously and

promptly guarded against waiver of the conflict, which arose unexpectedly at the

Hutto deposition based on Attorney Karen’s line of questioning.

      Moreover, as to whether Waterstone should have moved to disqualify Attorney

Karen, the more practical remedy is for Attorney Karen to abstain from seeking

testimony about the Waterstone employees’ views of the employment agreement he

played a role in drafting, including its reasonableness. Grounds for a protective order

as to that line of questioning are satisfied, as Rule 26(c)(1)(D) allows the Court to

forbid inquiry into certain matters or limit the scope of disclosure or discovery to

certain matters, in order to protect a party from oppression or undue burden. Fed. R.

Civ. P. 26(c)(1)(D). Waterstone thus seeks a protective order. That Waterstone does

not pursue the more extreme recourse of seeking to disqualify Attorney Karen from

now leading the prosecution on behalf of Mutual — which would be far more

prejudicial to Mutual — is not grounds to allow further testimony that weaponizes

Attorney Karen’s work product provided to Waterstone during his prior

representation.




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       3. Testimony Regarding the Waterstone Employees’ Opinion of the
          Waterstone Employment Agreement is Irrelevant.

       The Court should also deny the motion to compel because the testimony sought

 is irrelevant. Tellingly, Mutual does not state what further questions it seeks to ask

 Hutto and Smith about the Waterstone agreements or explain why the desired

 testimony is relevant. The case involves alleged breaches of the restrictive covenants

 in the employment agreement between Mutual and its former employees. Whether

 employees such as Hutto and Smith view the provisions of the Waterstone agreement

 as reasonable has no bearing on the Mutual agreement. This Court has denied motions

 to compel irrelevant evidence, including evidence as to contracts that are not at issue,

 and should do the same here. See, e.g., Herman v. Seaworld Parks & Ent., Inc., No. 8:14-

 CV-3028-T-35JSS, 2016 WL 3746421, at *3 (M.D. Fla. July 13, 2016) (J. Sneed)

 (denying motion to compel where “Plaintiffs’ understanding of contracts with

 language varying from SeaWorld's contract has not been shown to be relevant to the

 matters in dispute here.”); Nelson v. Gualtieri, No. 8:19-CV-449-T-36JSS, 2020 WL

 13669291, at *3 (M.D. Fla. Nov. 6, 2020) (J. Sneed) (denying motion to compel on

 the grounds that “Plaintiff has not explained how information contained in the

 questionnaires is relevant to Plaintiff's claims or the credibility of Defendant’s

 witnesses.”)

       4. Sanctions are Not Warranted.

       There is no basis to sanction Waterstone. Federal Rule of Civil Procedure

 37(a)(5)(A) instructs that the Court is not to award fees if “(ii) the opposing party’s
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 nondisclosure, response, or objection was substantially justified; or (iii) other

 circumstances make an award of expenses unjust.” “Substantially justified means

 that reasonable people could differ as to the appropriateness of the contested action.”

 Maddow v. Procter & Gamble Co., Inc., 107 F.3d 846, 853 (11th Cir.1997) (citing Pierce

 v. Underwood, 487 U.S. 552, 565 (1988)). District courts have “considerable discretion

 in managing discovery and determining that reasonable people could differ in the

 appropriateness of ... discovery requests.” Neumont v. Fla., 610 F.3d 1249, 1253 (11th

 Cir. 2010).

       Here, Mutual disputes that Attorney Karen drafted the Waterstone

 agreements, but the key provisions, including the restrictive covenants, have the

 same general terms and certain provisions are identical to the ones Attorney Karen

 drafted for Waterstone, including the indemnification provision that was the subject

 of Attorney Karen’s questioning. Moreover, Mutual argued at the deposition that

 allowing Hutto’s testimony had already waived the conflict of interest Waterstone

 wanted to make sure it preserved. Under those circumstances, it was not

 unreasonable to prevent further testimony by Smith at his deposition the next day, to

 avoid bolstering Mutual’s waiver argument. Moreover, Mutual completed all

 questioning of Hutto as to the employment agreement, stating that the issue is moot

 on the record at the deposition. There are no grounds to grant the motion as to

 Hutto, let alone an indication of obstruction of deposition testimony on the part of

 Waterstone that warrants sanctions. As to Smith, even if the Court does not agree

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 with Waterstone that there is no need for additional questions that inject a conflict of

 interest, particularly when the questions are irrelevant, that is a point on which

 reasonable persons could differ such that Rule 37 instructs against an award of fees.

     IV.      Conclusion.

          For all of these reasons, Waterstone requests that the Court deny Mutual’s

 motion and instead enter a protective order as to inquiry by Mutual regarding the

 Waterstone employment agreements that are not at issue.

  Dated: August 2, 2023.
                                         Respectfully Submitted,

                                         s/Maria L. Kreiter__________
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